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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                           CR 21-57-GF-BMM

                Plaintiff,
                                                           ORDER
       vs.

 ADAM DAVID KETCHUM,

                Defendant.


      Adam Ketchum filed a Motion for Early Termination of Supervised Release.

(Doc. 6.) The United States Attorney did not oppose the Court granting Ketchum’s

Motion. The Court conducted a hearing on the motion on November 3, 2021.

(Doc. 10.). For the reasons below, the Court grants Ketchum’s motion.

      Ketchum pleaded guilty to conspiracy to distribute methamphetamine under

21 U.S.C. § 841. (Doc. 2-4.) The Eastern District of Washington sentenced Ketchum

to the Bureau of Prisons on August 14, 2017, for a term of 36 months with 3 years

of supervised release. (Id.) Federal law authorizes a defendant to move for

termination of supervised release after successfully completing one year if the Court

is satisfied that such action remains “warranted by the conduct of the defendant and

the interest of justice.” 18 U.S.C. § 3564(c). The Court must consider the factors in

18 U.S.C. § 3553(a) when evaluating whether to terminate a term of supervised

release.

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      The factors in 18 U.S.C. § 3553(a) support an early termination of Ketchum’s

supervised release. Ketchum has been under supervision without incident for 28

months. Ketchum began supervised release on June 26, 2019. There is no indication

in the record that Ketchum violated or had any problems with his supervision.

Ketchum’s United States Probation Officer reported that he has done well on

supervision and has maintained full-time employment. Ketchum’s compliance with

the terms of his supervision demonstrate that termination of supervision is

warranted.

      Accordingly, IT IS ORDERED:

      1.     Ketchum’s Motion for Early Termination of Supervised Release

             (Doc. 10) is GRANTED.

      2.     Ketchum is DISCHARGED from supervised release.

      DATED this 4th day of November, 2021.




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